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                                                                                  United States Courts
                                                                                Southern District of Texas
                                                                                         FILED
                               UNITED STATES DISTRICT COURT                        December 11, 2023
                                SOUTHERN DISTRICT OF TEXAS                    Nathan Ochsner, Clerk of Court
                                    HOUSTON DIVISION

 UNITED STATES OF AMERICA                                 §
                                                          §
 vs.                                                      §    CRIMINAL NO. 4:23-cr-218-S
                                                          §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                        §
                                                          §
                 Defendant.                               §

                          SUPERSEDING CRIMINAL INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:
                                         COUNT ONE
                                  (Conspiracy, 18 U.S.C. § 371)

A.       INTRODUCTION

         At times material to this Information:

         1.     Defendant Dhirenkumar Vishnubhai Patel and others known and unknown to the

Grand Jury were members of a criminal fraud conspiracy (the “Fraud Ring”) operating within the

Southern District of Texas and elsewhere. The members of the Fraud Ring targeted victims

throughout the United States, with the primary objective of tricking victims into sending money to

the Fraud Ring. Commonly, those who fell prey to this fraud scheme were elderly persons.

         2.     The scheme used various scams. One common scam involved members of the

Fraud Ring based in India calling victims by telephone and misrepresenting themselves as U.S.

government officials. They falsely stated that the victims were under investigation because the

victims’ Social Security numbers or identities were associated with criminal activity.           To

safeguard their assets, avoid arrest, or prevent government benefits from being cut off, the victims

were instructed to send payment immediately.




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       3.      Sometimes victims were told to mail parcels containing cash to names and

addresses provided by the Fraud Ring. The addresses given were generally FedEx and UPS pick-

up locations. Co-conspirators in the United States picked up these parcels using fake identification

documents.

B.     THE CONSPIRACY

       4.      Beginning no later than February 2019 and continuing through in or about

November 2019, within the Southern District of Texas and elsewhere, Defendant

                          DHIRENKUMAR VISHNUBHAI PATEL,

did knowingly combine, conspire, confederate, and agree with co-conspirators known and

unknown to commit the following offense against the United States:

               To knowingly devise and intend to devise a scheme and artifice to defraud,

               and to obtain money and property by means of materially false and

               fraudulent pretenses, representations, and promises, knowing that the

               pretenses, representations, and promises were false and fraudulent when

               made, and to knowingly use and cause to be used the United States mail and

               private and commercial interstate carriers for the purpose of executing the

               scheme and artifice to defraud in violation of 18 U.S.C. § 1341 (mail fraud).

C.     MANNER AND MEANS OF THE CONSPIRACY

       5.      In furtherance of this conspiracy and to effect the objects thereof, the Defendant

and other co-conspirators used the following manner and means, among others:

               a.      Co-conspirators would make telephone calls to victims throughout

the United States, including within the Southern District of Texas, and make false

statements and promises, such as:

                     i.       that the caller worked for the United States government;

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                     ii.      that the victims were under investigation or scrutiny by the

                              United States government; and

                    iii.      that the victims could avoid further investigation or scrutiny

                              or avoid the United States government taking action against

                              the victims’ assets by sending payment.

               b.      Generally, the Fraud Ring would instruct the victims to provide funds in

one or more ways, including to mail cash in a parcel using a private mail carrier such as Federal

Express (“FedEx”). Some parcels were mailed from locations within the Southern District of

Texas.

               c.      Some parcels were mailed to FedEx locations inside various Walgreens

drug stores, including stores within the Southern District of Texas.

               d.      When a parcel containing victim cash was mailed to a FedEx location inside

a Walgreens drug store, a handler(s) would send a runner to pick up the parcel using a false

identification document matching the name of the recipient on the parcel.

D.       OVERT ACTS

Victims C.M. & J.K.

         6.    Beginning in or about September 2019, a co-conspirator(s) called Victim C.M. in

Justice, Illinois. The co-conspirator(s), purporting to be a federal agent, threatened to come to

C.M.’s home if C.M. did not send money or gift cards. At the direction of the co-conspirator(s),

C.M. mailed several parcels containing cash. One parcel was addressed to “John Phillips” at a

FedEx location inside a Walgreens drug store in Hammond, Indiana.

         7.    Beginning in or about October 2019, a co-conspirator(s) called Victim J.K. in

Peoria, Illinois.   The co-conspirator(s), purporting to be calling from the Social Security

Administration (SSA), falsely claimed that J.K.’s social security number was under suspicion. At

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the direction of the co-conspirator(s), J.K. mailed two parcels containing cash, including one

addressed to “John Phillips” at a FedEx location inside a Walgreens drug store in Hammond,

Indiana.

       8.     On or about October 19, 2019, DHIRENKUMAR VISHNUBHAI PATEL

entered the Walgreens store in Hammond, Indiana, presented a false identification document with

the name “John Phillips,” was given the parcel mailed by C.M. and the parcel mail by J.K., and

departed the Walgreens store.

       All in violation of Title 18, United States Code, Section 371.

                                                   ALAMDAR S. HAMDANI
                                                   United States Attorney


                                           By:     _______________________________
                                                   Stephanie Bauman
                                                   Assistant United States Attorney
                                                   713-567-9000




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